Case 2:08-cr-00085-LRS   ECF No. 440   filed 03/09/09   PageID.1493 Page 1 of 6
Case 2:08-cr-00085-LRS   ECF No. 440   filed 03/09/09   PageID.1494 Page 2 of 6
Case 2:08-cr-00085-LRS   ECF No. 440   filed 03/09/09   PageID.1495 Page 3 of 6
Case 2:08-cr-00085-LRS   ECF No. 440   filed 03/09/09   PageID.1496 Page 4 of 6
Case 2:08-cr-00085-LRS   ECF No. 440   filed 03/09/09   PageID.1497 Page 5 of 6
Case 2:08-cr-00085-LRS   ECF No. 440   filed 03/09/09   PageID.1498 Page 6 of 6
